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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

UNITED STATES OF AMERICA                      )       Criminal Case No. 3:04cr00047-1
                                              )
v.                                            )       2255 FINAL ORDER
                                              )
LOUIS BRYANT,                                 )       By: Norman K. Moon
                                              )       United States District Judge

       In accordance with the Memorandum Opinion entered this day, it is hereby ORDERED

and ADJUDGED as follows:

       (1) Bryant’s motion to expand the record (Docket No. 1684) is GRANTED;

       (2) The government’s motion to dismiss (Docket No. 1678) is GRANTED;

       (3) Bryant’s motion pursuant to 28 U.S.C. § 2255 (Docket No. 1668) is DISMISSED

           without prejudice;

       (4) This action is STRICKEN from the active docket of this court; and

       (5) Finding that Bryant has failed to make a substantial showing of the denial of a

           constitutional right as required by 28 U.S.C. § 2253(c), a certificate of appealability is

           DENIED.

       The Clerk is directed to send copies of this Order and the accompanying Memorandum

Opinion to the parties.

       ENTER: This _____
                    19th day of May, 2015.
